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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )       Case No. 07-20168-JWL
                                                  )
FRANKLIN GOODWIN,                                 )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Franklin Goodwin comes before the court with a Motion to Preserve

Issues (doc. 1458). He seeks to preserve issues raised by the Supreme Court’s ruling in

DePierre v. United States, 131 S. Ct. 225 (2011), so that he may include the issues in his

petition for habeas corpus. A Motion to Preserve Issues is not a cognizable claim for

post-conviction relief. If Mr. Goodwin wishes to pursue this claim, he should include

it in a timely filed petition for habeas corpus pursuant to 28 U.S.C. § 2255.



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

to Preserve Issues (doc. 1458) is dismissed without prejudice.



       IT IS SO ORDERED this 13th day of June, 2012.


                                     s/ John W. Lungstrum
                                     John W. Lungstrum
                                     United States District Judge
